         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     BRYSON CITY DIVISION

                       CRIMINAL NO. 2:06CR12-2



UNITED STATES OF AMERICA )
                         )
                         )
         VS.             )                     ORDER
                         )
                         )
ADRIAN JERELD FREEMAN    )
                         )


     THIS MATTER is before the Court on the Government’s appeal of

the Order of Release issued by the Magistrate Judge on December 29,

2006. The Magistrate Judge stayed his order pending resolution of this

appeal. See Order, filed December 29, 2006.

     No response to the Government’s appeal has been filed by the

Defendant. Therefore, the Court finds, for the reasons stated in the

Government’s memorandum in support of continued detention of the

Defendant, that the Government’s appeal should be allowed.

     IT IS, THEREFORE, ORDERED that the Government’s appeal of the

Order of Release is ALLOWED; the Magistrate Judge’s Order of Release




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is OVERRULED, and the Defendant is ordered detained until further Order

of this Court.



                                   Signed: January 22, 2007




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